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Fill in this information to identify the case:


Debtor Name Jesse     Wayne Dawber
United States Bankruptcy Court for the: Southern             District of California
                                                                    (State)

Case number:   18-06044-LT11




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                               12/17



           This is the Periodic Report as of 10/08/2018 on the value, operations, and profitability of those entities in which a
           Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
           Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
           Debtor.
           Debtor Jesse Wayne Dawber holds a substantial or controlling interest in the following entities:
            Name of Controlled Non-Debtor Entity                                       Interest of the Debtor                Tab #

           Sketchy Tank, LLC                                                          100%                                   I
           Class War, Inc.                                                            100%                                   II



           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
               Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
               and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
               along with summarized footnotes.
               Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

               Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

               Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
               allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
               Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
               Entity is a party with any other Controlled Non-Debtor Entity.

               Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
               professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
               such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
               respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




Official Form 426           Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability

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Debtor Name   Jesse Wayne Dawber                                                             Case number   18-06044-LT11



           The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3

           For non-individual
           Debtors:
                                            Signature of Authorized Individual


                                            Printed name of Authorized Individual

                                            Date
                                               MM / DD / YYYY

           For individual Debtors:

                                            Signature of Debtor 1                                      Signature of Debtor 2
                                            Jesse Wayne Dawber
                                            Printed name of Debtor 1                                   Printed name of Debtor 2
                                            Date 10/23/2018                                            Date
                                               MM / DD / YYYY                                              MM / DD / YYYY




Official Form 426               Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability

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                                                               I

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Debtor Name   Jesse Wayne Dawber                                                        Case number   18-06044-LT11



           Exhibit A: Financial Statements for    Sketchy Tank, LLC




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11



           Exhibit A-1: Balance Sheet for    Sketchy Tank, LLC as of 9/30/2018


          Below is the balance sheet for the period from January 1, 2018 to and including September 30, 2018. This information
          is provided by Sketchy Tank, LLC’s accountant.




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                                     Sketchy Tank LLC
                                           BALANCE SHEET
                                       As of September 30, 2018


                                                                              TOTAL
                ASSETS
                 Current Assets
                 Bank Accounts
                     CNB Checking *7846                                    26,441.35
                     PayPal                                                 4,558.23
                 Total Bank Accounts                                      $30,999.58
                 Accounts Receivable
                     Accounts Receivable (A/R)                             69,056.32
                 Total Accounts Receivable                                $69,056.32
                 Total Current Assets                                    $100,055.90
                 Fixed Assets
                 FA - Equipment                                             4,207.17
                 Total Fixed Assets                                        $4,207.17
                TOTAL ASSETS                                             $104,263.07

                LIABILITIES AND EQUITY
                 Liabilities
                 Current Liabilities
                     Accounts Payable
                     Accounts Payable (A/P)                                45,000.00
                     Total Accounts Payable                               $45,000.00
                     Other Current Liabilities
                     Direct Deposit Payable                                     0.00
                     Loan to/from CWI                                       6,387.04
                     Loan to/from Jesse Dawber                            -16,638.77
                     Payroll Liabilities
                      CA PIT / SDI                                            734.31
                      CA SUI / ETT                                            245.00
                      Federal Taxes (941/944)                               4,756.92
                      Federal Unemployment (940)                              105.00
                     Total Payroll Liabilities                              5,841.23
                     Total Other Current Liabilities                      $ -4,410.50
                 Total Current Liabilities                                $40,589.50
                 Total Liabilities                                        $40,589.50
                 Equity
                 Opening Balance Equity                                     5,695.60
                 Owner's Investment                                        59,815.38
                 Retained Earnings
                 Net Income                                                -1,837.41
                 Total Equity                                             $63,673.57
                TOTAL LIABILITIES AND EQUITY                             $104,263.07




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Note
no assurance is provided




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11



           Exhibit A-2: Statement of Income (Loss) for Sketchy           Tank, LLC for period ending 9/30/2018

           Below are statements of income (loss) for (a) the period from January 1, 2018 to and including September 30, 2018; and (b)
           the period from January 1, 2017 to and including December 31, 2017. This information is provided by Sketchy Tank, LLC’s
           accountant.




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                                                                    Sketchy Tank LLC
                                                                        PROFIT AND LOSS
                                                                     January - September, 2018


                                   JAN 2018       FEB 2018       MAR 2018      APR 2018      MAY 2018       JUN 2018       JUL 2018     AUG 2018     SEP 2018         TOTAL
Income
 Sales                                                                         34,500.00     34,500.00     34,500.00      34,500.00     34,500.00    34,500.00   $207,000.00
Total Income                          $0.00          $0.00           $0.00    $34,500.00    $34,500.00    $34,500.00     $34,500.00    $34,500.00   $34,500.00   $207,000.00
GROSS PROFIT                          $0.00          $0.00           $0.00    $34,500.00    $34,500.00    $34,500.00     $34,500.00    $34,500.00   $34,500.00   $207,000.00
Expenses
 Advertising & Marketing                                                                                                                     5.13      295.28        $300.41
 Art Supplies                                                                                                                             409.33                     $409.33
 Auto                                                                                                                                                                  $0.00
  Parking & Tolls                                                                                31.95                                                                $31.95
 Total Auto                                                                                      31.95                                                                $31.95
 Bank Charges & Fees                                 30.00           30.00        115.00        208.52          127.53       207.50       378.35       142.11      $1,239.01
 Charitable Contributions                                                                                                                   52.00                     $52.00
 Contractors                      15,000.00      15,250.00       15,000.00     19,000.00     19,000.00     19,000.00      19,000.00     19,000.00    19,000.00   $159,250.00
 Design Development                                                                                             945.63       352.37                                $1,298.00
 Dues & Subs                                         49.99           49.99         49.99         49.99          114.99       114.99       167.98       167.98        $765.90
 Meals & Entertainment                                                                           72.35                                    320.13       435.68        $828.16
 Office Supplies & Software                                                                        0.00          15.97         0.00         32.33                     $48.30
 Payroll Expenses                                                                                                                                                      $0.00
  Taxes                                                                           144.38        288.75          288.75       350.00       411.25       339.50      $1,822.63
  Wages                                                                         1,750.00      3,500.00      3,500.00       3,500.00      3,500.00     3,500.00    $19,250.00
 Total Payroll Expenses                                                         1,894.38      3,788.75      3,788.75       3,850.00      3,911.25     3,839.50    $21,072.63
 Postage & Shipping                                                                                                                         86.97                     $86.97
 Reimbursable Expenses                                                                          187.04                    14,761.89       280.00                  $15,228.93
 Travel                                                                                         588.66                                   5,855.18                  $6,443.84
 Utilities                                                                        119.54        119.54                       311.73      1,004.76      226.41      $1,781.98
Total Expenses                   $15,000.00     $15,329.99      $15,079.99    $21,178.91    $24,046.80    $23,992.87     $38,598.48    $31,503.41   $24,106.96   $208,837.41
NET OPERATING INCOME            $ -15,000.00   $ -15,329.99   $ -15,079.99    $13,321.09    $10,453.20    $10,507.13     $ -4,098.48    $2,996.59   $10,393.04    $ -1,837.41
NET INCOME                      $ -15,000.00   $ -15,329.99   $ -15,079.99    $13,321.09    $10,453.20    $10,507.13     $ -4,098.48    $2,996.59   $10,393.04    $ -1,837.41




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Note
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Debtor Name    Jesse Wayne Dawber                                                          Case number   18-06044-LT11



           Exhibit A-3: Statement of Cash Flows for         Sketchy Tank, LLC for period ending 9/30/2018

              Below are cash flow statements for (a) the period from January 1, 2018 to and including September 30, 2018; and (b) the
              period from January 1, 2017 to and including December 31, 2017. This information is provided by Sketchy Tank, LLC’s
              accountant.




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                                 Sketchy Tank LLC
                             STATEMENT OF CASH FLOWS
                                  January - September, 2018


                                                                           TOTAL
               OPERATING ACTIVITIES
                Net Income                                              -6,669.46
                Adjustments to reconcile Net Income to Net
                Cash provided by operations:
                 Accounts Receivable (A/R)                             -69,056.32
                 FA - Equipment                                         -4,207.17
                 Accounts Payable (A/P)                                      0.00
                 Direct Deposit Payable                                      0.00
                 Loan to/from CWI                                       51,842.61
                 Loan to/from Jesse Dawber                             -12,075.25
                 Payroll Liabilities:CA PIT / SDI                          734.31
                 Payroll Liabilities:CA SUI / ETT                          245.00
                 Payroll Liabilities:Federal Taxes (941/944)             4,756.92
                 Payroll Liabilities:Federal Unemployment                  105.00
                 (940)
                Total Adjustments to reconcile Net Income              -27,654.90
                to Net Cash provided by operations:
               Net cash provided by operating activities              $ -34,324.36
               FINANCING ACTIVITIES
                Opening Balance Equity                                   5,695.60
                Owner's Investment                                      59,815.38
               Net cash provided by financing activities               $65,510.98
               NET CASH INCREASE FOR PERIOD                            $31,186.62
               CASH AT END OF PERIOD                                   $31,186.62




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Debtor Name    Jesse Wayne Dawber                                                          Case number   18-06044-LT11



           Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity ( Deficit) for Sketchy                      Tank, LLC for period
           ending September 30, 2018


              Sketchy Tank, LLC has not had any changes in shareholders’ equity.




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Debtor Name    Jesse Wayne Dawber                                                          Case number   18-06044-LT11



           Exhibit B: Description of Operations for        Sketchy Tank, LLC

              The Debtor is the 100% equity holder of Sketchy Tank, LLC., a graphic design company.




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                                                            II

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Debtor Name   Jesse Wayne Dawber                                                        Case number   18-06044-LT11



           Exhibit A: Financial Statements for    Class War, Inc.




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11



           Exhibit A-1: Balance Sheet for    Class War, Inc. as of 9/30/2018


          The following is the balance sheet for the period from January 1, 2018 to and including September 30, 2018. This
          information is provided by Class War, Inc.’s accountant.




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                                                39
                                     Class War Inc.
                                       BALANCE SHEET
                                    As of September 30, 2018


                                                                                TOTAL
               ASSETS
                Current Assets
                 Bank Accounts
                 1000 Bill.com Money Out Clearing                                 0.00
                 1001 Paypal                                                      0.00
                 1004 Paypal Class War Inc                                21,942.39
                 1007 Amazon Pay Clearing                                         0.00
                 1015 Petty Cash                                                200.00
                 1020 City National Chk *3301 Retail                      34,629.35
                 1021 City National Chk *3484                            163,663.93
                 Wholesale
                 1022 City National Chk *7153 Operating                   35,279.07
                 Total Bank Accounts                                    $255,714.74
                 Accounts Receivable
                 1200 Accounts Receivable                                564,532.43
                 Total Accounts Receivable                              $564,532.43
                 Other Current Assets
                 1300 Inventory
                     1305 Production Inventory-Wholesale                  76,046.87
                     1310 Production Inventory-Web                        16,872.17
                     1330 Promo Inventory                                       353.97
                     1335 AIMS Inventory                                          0.00
                 Total 1300 Inventory                                     93,273.01
                 1400 Prepaid Expenses                                    52,803.26
                 1440 Undeposited Funds                                   20,914.99
                 1476 Loan to/from Lighthouse Strategic                           0.00
                 1480 Loan to/from STFU Inc                               45,000.00
                 1485 Loan to/from Sketchy Tank LLC                           -2,920.23
                 1490 Loan to/from THOM                                  158,689.10
                 1900 Security Deposits                                  170,500.00
                 Total Other Current Assets                             $538,260.13
                Total Current Assets                                  $1,358,507.30
                Fixed Assets
                 1500 Vehicles                                           108,680.46
                 1520 Computers & Equipment                               23,249.26
                 1700 Accumulated Depreciation                            -22,606.17
                Total Fixed Assets                                      $109,323.55
                Other Assets
                 1550 Intellectual Property                              195,572.34
                 1560 Leasehold Improvements                                  6,338.63
                Total Other Assets                                      $201,910.97
               TOTAL ASSETS                                           $1,669,741.82




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                                                  39
                                                                               TOTAL
               LIABILITIES AND EQUITY
                Liabilities
                 Current Liabilities
                 Accounts Payable
                     2000 Accounts Payable                             1,735,768.80
                 Total Accounts Payable                               $1,735,768.80
                 Credit Cards
                     2100 City National *6790                                     0.00
                     2103 City National Bank 2532 Visa                          50.00
                     2105 Amex CC 1006                                            0.00
                     2110 Amex Delta Skymiles 61005                       19,068.66
                 Total Credit Cards                                      $19,118.66
                 Other Current Liabilities
                     2200 Payroll Liabilities
                     2210 Federal Taxes (941/944)                                 0.00
                     2230 CA PIT / SDI                                            0.00
                     2231 CA SUI / ETT                                          73.88
                     2250 Federal Unemployment (940)                           336.00
                     2260 Employee Advance                                        0.00
                     2265 Repayment
                      2268 Cash Advance Repayment                                 0.00
                     Total 2265 Repayment                                         0.00
                     Total 2200 Payroll Liabilities                            409.88
                     2300 Sales Tax Payable                                       0.00
                     2305 StitchTaxAgency Payable                                -4.20
                     2310 CA BOE Payable                                      2,772.97
                     Total 2300 Sales Tax Payable                             2,768.77
                     2320 Accrued Sales Rep Comm                                  0.00
                     2400 Amex Clearing                                           0.00
                     2405 Loan to/from Matt Roberts                               0.00
                     2410 CW to/from JD Creative                                  0.00
                     2411 CW to/from Sketchy Tank                                 0.00
                     2500 Loan to/from Shareholder - Jesse                        0.00
                     Dawber
                     3000 Pension Plan Payable                                    0.00
                     3020 Gift Certificates Outstanding                         50.00
                 Total Other Current Liabilities                          $3,228.65
                 Total Current Liabilities                            $1,758,116.11
                 Long-Term Liabilities
                 3050 City National Loan                                  73,134.61
                 Total Long-Term Liabilities                             $73,134.61
                Total Liabilities                                     $1,831,250.72
                Equity
                 3100 Opening Balance Equity                                      0.00
                 3200 Owner Distribution                               -1,595,432.49
                 3500 Retained Earnings                                1,709,732.27
                 Net Income                                             -275,808.68
                Total Equity                                           $ -161,508.90



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                                                        39
                                                                                       TOTAL
                           TOTAL LIABILITIES AND EQUITY                        $1,669,741.82


Note
no assurance is provided




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11



           Exhibit A-2: Statement of Income (Loss) for Class         War, Inc. for period ending 9/30/2018

           The following are statements of income (loss) for (a) the period from January 1, 2018 to and including September 30, 2018;
           and (b) the period from January 1, 2017 to December 31, 2017. This information is provided by Class War, Inc.’s
           accountant.




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                                                39
                                      Class War Inc.
                                      PROFIT AND LOSS
                                  January - September, 2018


                                                                               TOTAL
               Income
                4000 Sales - Wholesale                                           0.00
                 4001 Sales - Specialty                                 227,051.71
                 4003 Discounts - Specialty                                  -6,812.57
                 4004 Refunds - Specialty                                     -293.98
                 4005 Sales - Majors                                  4,974,569.95
                 4007 Discounts - Majors                               -998,110.95
                 4008 Refunds - Majors                                   -36,422.50
                 4009 Sales - AIMS                                       37,571.19
                Total 4000 Sales - Wholesale                          4,197,552.85
                4100 Sales - Retail
                 4112 Sales - Web                                       330,632.30
                 4113 Discounts - Web                                        -4,535.20
                 4114 Refunds - Web                                          -5,884.85
                 4135 Sales - Samples                                    19,492.00
                Total 4100 Sales - Retail                               339,704.25
                4250 Royalty Income                                     325,928.89
                4300 Shipping Income - Wholesale                             6,899.33
                4305 Shipping Income - Retail                            51,740.64
                4600 Sales of Product Income                                  -847.50
                4610 Uncategorized Income                                     -260.00
               Total Income                                          $4,920,718.46
               Cost of Goods Sold
                5000 Cost of Goods Sold                                      3,208.40
                 5002 Screenprinting Specialty                          158,816.58
                 5005 Screenprinting Majors                           1,698,436.25
                 5010 Screenprinting Web                                171,949.61
                 5012 Screenprinting Print On Demand                     27,781.69
                 5015 Production Samples                                     2,608.78
                 5017 PreProduction Samples                                  1,697.75
                 5018 Print On Demand Samples                                2,311.55
                 5020 Supplies & Materials                               25,084.24
                 5050 Fulfillment, Freight & Delivery                    65,063.54
                Total 5000 Cost of Goods Sold                         2,156,958.39
                5100 Merchant Fees
                 5105 Amazon Pay Fees                                          698.68
                 5110 Paypal Fees                                            4,893.23
                 5120 QuickBooks Payments Fees                               3,288.43
                 5130 Shopify Fees                                           7,433.60
                 5143 Collection Agency Fees                                   245.00
                Total 5100 Merchant Fees                                 16,558.94
                5200 Cost of E-goods                                           326.00
                5300 Royalty Expense                                    852,072.13



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                                                                              TOTAL
                5400 Inventory Storage                                       4,200.00
                5500 Cost of Goods Sold-1                                        0.00
               Total Cost of Goods Sold                              $3,030,115.46
               GROSS PROFIT                                          $1,890,603.00
               Expenses
                6000 Advertising & Marketing
                 6005 Digital Strategy                                   59,860.60
                 6010 Print Advertising                                  15,000.00
                 6015 Advertising Production                             10,681.00
                 6020 Events                                                 7,370.00
                 6025 Product Giveaways                                      1,020.00
                 6090 Job Advertisements                                      477.12
                Total 6000 Advertising & Marketing                       94,408.72
                6100 Auto Expense
                 6103 Fuel                                                    745.33
                 6106 Parking & Tolls                                        1,494.76
                 6109 Repairs & Maintenance - Auto                            735.00
                Total 6100 Auto Expense                                      2,975.09
                6200 Bank Service Charges                                    1,636.93
                6450 Contract Labor                                     102,573.98
                6650 Dues & Subscriptions                                12,929.33
                6850 Insurance
                 6853 Business Owners Policy                                  804.00
                 6875 Workers Comp                                           1,652.00
                 6880 Auto Insurance                                         1,124.00
                Total 6850 Insurance                                         3,580.00
                6900 Janitorial                                               720.00
                7150 Office Expenses                                         4,555.81
                7155 Mileage                                                  132.25
                7160 Office Supplies                                         1,784.96
                7200 Payroll Expenses
                 7510 Wages                                             341,248.90
                 7650 Taxes                                              29,577.54
                Total 7200 Payroll Expenses                             370,826.44
                7250 Professional Fees
                 7255 Accounting Fees                                    15,959.20
                 7260 Legal Fees                                        694,521.24
                 7265 Payroll Service Fees                                    394.00
                 7275 Consulting Services                               490,392.00
                Total 7250 Professional Fees                          1,201,266.44
                7380 Reimbursements                                           439.10
                7430 Rent or Lease                                       33,300.00
                7440 Research & Development
                 7441 Art Supplies                                            223.98
                 7442 Artwork                                                 452.91
                 7443 Product Development                                     429.76
                Total 7440 Research & Development                            1,106.65
                7470 Sales Rep Commissions                               59,188.93
                7480 Security                                                 402.55


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          Case 18-06044-LT11      Filed 10/23/18        Entered 10/23/18 19:51:10              Doc 18   Pg. 26 of
                                                          39
                                                                                         TOTAL
                            7700 Telephone                                               468.91
                            7800 Travel & Entertainment
                             7801 Transportation                                   222,231.95
                             7805 Lodging                                           12,960.44
                             7810 Meals                                             15,831.48
                            Total 7800 Travel & Entertainment                      251,023.87
                            7845 Small Tools & Equipment                                5,224.74
                            7850 Utilities                                              2,840.29
                            7900 Charitable Contributions                               1,000.00
                           Total Expenses                                       $2,152,384.99
                           NET OPERATING INCOME                                  $ -261,781.99
                           Other Expenses
                            6550 Depreciation Expense                                   8,877.74
                            8000 Miscellaneous Expense                                    52.69
                            8660 Interest Expense                                       5,096.26
                           Total Other Expenses                                    $14,026.69
                           NET OTHER INCOME                                       $ -14,026.69
                           NET INCOME                                            $ -275,808.68


Note
no assurance is provided




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Class War, Inc.
INCOME STATEMENT
December 31, 2017

                                                                                                                                Tax Groupings/
                                                              AJE'S
           Accounts              Balance    Per G/L                           Adjusted Balance    M-1'S        Tax Balance          RJE'S        Tax Return
                                     12/31/2017       REF       Amount          12/31/2017                     12/31/2017     REF     Amount     12/31/2017
                                 CTB-1
INCOME:
    Sales                              5,367,074.00                              5,367,074.00    67,160.00     5,434,234.00                       5,434,234.00
    Cost of Sales                                                                         -                             -                                  -
    Interest Income                             -                                         -                             -                                  -
    Miscellaneous Income                   1,182.00                                  1,182.00                      1,182.00                           1,182.00

    Total (Income)/Loss                5,368,256.00                   -          5,368,256.00                  5,435,416.00                       5,435,416.00
                                                                                          -
  Cost of Goods Sold:
    Purchases                                                                             -                             -                                  -
    Supplies                              36,167.00                                 36,167.00                     36,167.00                          36,167.00
    Freight                               64,983.00                                 64,983.00                     64,983.00                          64,983.00
    Costs of Labor                     3,572,478.00                              3,572,478.00                  3,572,478.00                       3,572,478.00

    Total COGS                         3,673,628.00                   -          3,673,628.00                  3,673,628.00                       3,673,628.00

EXPENSES:
    Administrative Salaries                                                               -                             -                                 -
    Advertising                          149,871.00                                149,871.00                    149,871.00                        149,871.00
    Amortization Expense                        -     AJE 3      6,519.00            6,519.00                      6,519.00                          6,519.00
    Auto Expense                           4,586.00                                  4,586.00                      4,586.00                          4,586.00
    Bad Debts                             25,996.00                                 25,996.00                     25,996.00                         25,996.00
    Bank Charges                           2,109.00                                  2,109.00                      2,109.00                          2,109.00
    Contract Labor                        63,832.00                                 63,832.00                     63,832.00                         63,832.00
    Depreciation Expense                   3,569.00   AJE 1     14,001.00           17,570.00                     17,570.00                         17,570.00
    Dues & Subscriptions                  25,891.00                                 25,891.00                     25,891.00                         25,891.00
    Equipment                              3,957.00                                  3,957.00                      3,957.00                          3,957.00
    Gifts                                    156.00                                    156.00                        156.00                            156.00
    Ins - General                          1,797.00                                  1,797.00                      1,797.00                          1,797.00
    Ins - Auto                               562.00                                    562.00                        562.00                            562.00
    Ins - Workers Compensation             2,728.00                                  2,728.00                      2,728.00                          2,728.00
    Interest                               3,166.00                                  3,166.00                      3,166.00                          3,166.00
    Meals & Entertainment                 17,752.00                                 17,752.00     (8,876.00)       8,876.00                          8,876.00
    Mileage                                  262.00                                    262.00                        262.00                            262.00
    Office Expense                         6,286.00                                  6,286.00                      6,286.00                          6,286.00
    Officer Compensation                        -     AJE 4     90,000.00           90,000.00                     90,000.00                         90,000.00
    Security                                 471.00                                    471.00                        471.00                            471.00
    Supplies                               6,374.00                                  6,374.00                      6,374.00                          6,374.00
    Penalties                              2,936.00                                  2,936.00     (2,936.00)            -                                 -
    Product Development                   10,939.00                                 10,939.00                     10,939.00                         10,939.00
    Professional Fees                    538,012.00                                538,012.00                    538,012.00                        538,012.00
    Rents                                 30,100.00                                 30,100.00                     30,100.00                         30,100.00
    Repair & Maintenance                     400.00                                    400.00                        400.00                            400.00
    Salaries and Wages                   576,486.00   AJE 4    (90,000.00)         486,486.00                    486,486.00                        486,486.00
    Taxes - Payroll                       34,578.00                                 34,578.00                     34,578.00                         34,578.00
    Telephone                              2,458.00                                  2,458.00                      2,458.00                          2,458.00
    Travel                                79,428.00                                 79,428.00                     79,428.00                         79,428.00
    Utilities                              3,914.00                                  3,914.00                      3,914.00                          3,914.00

    Total Expenses                     1,598,616.00             20,520.00        1,619,136.00    (11,812.00)   1,607,324.00                       1,607,324.00

NET INCOME/(LOSS)                         96,012.00            (20,520.00)          75,492.00      N/A           154,464.00             N/A        154,464.00




                                                                                                                                                              PL
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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11



           Exhibit A-3: Statement of Cash Flows for       Class War, Inc. for period ending 9/30/2018

           The following are cash flow statements for (a) the period from January 1, 2018 to and including September 30, 2018; and (b)
           the period from January 1, 2017 to December 31, 2017. This information is provided by Class War, Inc.’s accountant.




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                                    Class War Inc.
                             STATEMENT OF CASH FLOWS
                                  January - September, 2018


                                                                            TOTAL
               OPERATING ACTIVITIES
                Net Income                                             -275,808.68
                Adjustments to reconcile Net Income to
                Net Cash provided by operations:
                 1200 Accounts Receivable                              -201,527.02
                 1305 Inventory:Production Inventory-                   -76,046.87
                 Wholesale
                 1310 Inventory:Production Inventory-                     2,049.18
                 Web
                 1330 Inventory:Promo Inventory                            -353.97
                 1335 Inventory:AIMS Inventory                                0.00
                 1400 Prepaid Expenses                                  -48,014.90
                 1476 Loan to/from Lighthouse Strategic                       0.00
                 1480 Loan to/from STFU Inc                               8,272.27
                 1485 Loan to/from Sketchy Tank LLC                     -39,300.42
                 1490 Loan to/from THOM                                -158,689.10
                 1900 Security Deposits                                -155,000.00
                 1700 Accumulated Depreciation                            8,877.74
                 2000 Accounts Payable                                  345,658.32
                 2103 City National Bank 2532 Visa                        -5,324.62
                 2110 Amex Delta Skymiles 61005                          19,033.22
                 2210 Payroll Liabilities:Federal Taxes                       0.00
                 (941/944)
                 2230 Payroll Liabilities:CA PIT / SDI                    -3,945.10
                 2231 Payroll Liabilities:CA SUI / ETT                     -108.41
                 2250 Payroll Liabilities:Federal                             0.00
                 Unemployment (940)
                 2300 Sales Tax Payable                                   -1,410.27
                 2305 Sales Tax                                           -3,787.45
                 Payable:StitchTaxAgency Payable
                 2310 Sales Tax Payable:CA BOE                            2,772.97
                 Payable
                 2400 Amex Clearing                                     -40,120.38
                 2405 Loan to/from Matt Roberts                               0.00
                 2410 CW to/from JD Creative                            -17,578.57
                 2411 CW to/from Sketchy Tank                           -31,934.61
                 2500 Loan to/from Shareholder - Jesse                   31,483.87
                 Dawber
                 3020 Gift Certificates Outstanding                          50.00
                Total Adjustments to reconcile Net                     -364,944.12
                Income to Net Cash provided by
                operations:
               Net cash provided by operating activities              $ -640,752.80
               INVESTING ACTIVITIES
                1520 Computers & Equipment                                -8,845.34



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                                                                            TOTAL
               Net cash provided by investing activities                $ -8,845.34
               FINANCING ACTIVITIES
                3050 City National Loan                                 -22,566.12
                3100 Opening Balance Equity                                   0.00
               Net cash provided by financing activities               $ -22,566.12
               NET CASH INCREASE FOR PERIOD                           $ -672,164.26
               Cash at beginning of period                              948,793.99
               CASH AT END OF PERIOD                                   $276,629.73




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                                               39
                                    Class War Inc.
                             STATEMENT OF CASH FLOWS
                                   January - December 2017


                                                                            TOTAL
               OPERATING ACTIVITIES
                Net Income                                               96,012.09
                Adjustments to reconcile Net Income to
                Net Cash provided by operations:
                 1200 Accounts Receivable                               457,247.26
                 1305 Inventory:Production Inventory-                          0.00
                 Wholesale
                 1310 Inventory:Production Inventory-                    -18,921.35
                 Web
                 1400 Prepaid Expenses                                    -4,788.36
                 1480 Loan to/from STFU Inc                               -8,272.27
                 1485 Loan to/from Sketchy Tank LLC                       -2,779.35
                 1900 Security Deposits                                        0.00
                 1700 Accumulated Depreciation                             3,569.43
                 2000 Accounts Payable                                 1,340,114.98
                 2100 City National *6790                                -11,358.53
                 2103 City National Bank 2532 Visa                         5,374.62
                 2105 Amex CC 1006                                        -6,038.30
                 2110 Amex Delta Skymiles 61005                              35.44
                 2210 Payroll Liabilities:Federal Taxes                  -33,444.20
                 (941/944)
                 2230 Payroll Liabilities:CA PIT / SDI                   -10,988.78
                 2231 Payroll Liabilities:CA SUI / ETT                      182.29
                 2250 Payroll Liabilities:Federal                           168.00
                 Unemployment (940)
                 2260 Payroll Liabilities:Employee                             0.00
                 Advance
                 2268 Payroll Liabilities:Repayment:Cash                       0.00
                 Advance Repayment
                 2300 Sales Tax Payable                                     -140.73
                 2305 Sales Tax                                            3,783.25
                 Payable:StitchTaxAgency Payable
                 2320 Accrued Sales Rep Comm                             -15,208.04
                 2400 Amex Clearing                                      19,713.22
                 2500 Loan to/from Shareholder - Jesse                   -18,953.59
                 Dawber
                 3000 Pension Plan Payable                               -30,000.00
                Total Adjustments to reconcile Net                     1,669,294.99
                Income to Net Cash provided by
                operations:
               Net cash provided by operating activities              $1,765,307.08
               INVESTING ACTIVITIES
                1500 Vehicles                                           -104,680.46
                1520 Computers & Equipment                                -8,114.18
                1550 Intellectual Property                              -195,572.34



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                                               39
                                                                            TOTAL
               Net cash provided by investing activities              $ -308,366.98
               FINANCING ACTIVITIES
                3050 City National Loan                                  95,700.73
                3100 Opening Balance Equity                                   0.00
                3200 Owner Distribution                                -715,224.49
               Net cash provided by financing activities              $ -619,523.76
               NET CASH INCREASE FOR PERIOD                            $837,416.34
               Cash at beginning of period                              111,377.65
               CASH AT END OF PERIOD                                   $948,793.99




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Debtor Name    Jesse Wayne Dawber                                                          Case number   18-06044-LT11



           Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity ( Deficit) for Class                  War, Inc. for period ending
           9/30/2018

              Class War, Inc. has not had any changes in shareholders’ equity.




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Debtor Name    Jesse Wayne Dawber                                                           Case number   18-06044-LT11



           Exhibit B: Description of Operations for         Class War, Inc.

              The Debtor is the 100% equity holder of Class War, Inc., a brand agency.




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Debtor Name    Jesse Wayne Dawber                                                           Case number   18-06044-LT11



           Exhibit C: Description of Intercompany Claims


              Sketchy Tank, LLC and Class War, Inc. do not hold any claims against one another.




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11




           Exhibit D: Allocation of Tax Liabilities and Assets


           Sketchy Tank, LLC and Class War, Inc. do not allocate income, losses, tax payments, tax refunds, or other tax attributes
           between or among one another.




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Debtor Name   Jesse Wayne Dawber                                                         Case number   18-06044-LT11


           Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
           otherwise payable by a Debtor


           Sketchy Tank, LLC and Class War, Inc. do not hold any claims, administrative expenses, or professional fees that have
           been or could be asserted against the Debtor.




Official Form 426           Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability

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CSD 3010 [07/01/18]
Name, Address, Telephone No. & I.D. No.
 M. Douglas Flahaut (SBN 245558)
 ARENT FOX LLP
 555 West Fifth Street, 48th Floor
 Los Angeles, CA 90013-1065
 Telephone:      213.629.7400
 Facsimile:      213.629.7401
 E-mail:         douglas.flahaut@arentfox.com

       UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
       325 West F Street, San Diego, California 92101-6991

 In Re Jesse Wayne Dawber

                                                                          BANKRUPTCY NO. 18-06044-LT11
                                                        Debtor.



                                                                          ADVERSARY NO.
                                                        Plaintiff(s)
 v.


                                                        Defendant(s)



                                                    PROOF OF SERVICE

          I,   M. Douglas Flahaut                        am a resident of the State of California, over the age of 18 years,
 and not a party to this action.                         ction.

          On      October 23, 2018                   , I served the following documents:

          Periodic Report Regarding Value, Operations, and Profitability of Entities in Which the Debtor's Estate
 Holds a Substantial or Controlling Interest




  1.       To Be Served by the Court via Notice of Electronic Filing (“NEF”):

          Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
  court via NEF and hyperlink to the document. On October 23, 2018              , I checked the CM/ECF docket for
  this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
  Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

  USTP.REGION15@USDOJ.GOV, tiffany.l.carroll@usdoj.gov, Elizabeth.C.Amorosi@usdoj.gov,
  ch11ecf@aldridgepite.com, david.a.ortiz@usdoj.gov, flahaut.douglas@arentfox.com, tgaran@aldridgepite.com,
  TSG@ecf.courtdrive.com, ustp.region15@usdoj.gov

                   Chapter 7 Trustee:



                    For Chpt. 7, 11, & 12 cases:        For ODD numbered Chapter 13 cases:        For EVEN numbered Chapter 13 cases:
                    UNITED STATES TRUSTEE               THOMAS H. BILLINGSLEA, JR., TRUSTEE       DAVID L. SKELTON, TRUSTEE
                    ustp.region15@usdoj.gov             Billingslea@thb.coxatwork.com             admin@ch13.sdcoxmail.com
                                                                                                  dskelton13@ecf.epiqsystems.com



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  2.      Served by United States Mail:

         On                                 , I served the following person(s) and/or entity(ies) at the last known
                                            address(es)
  address(es) in this bankruptcy case or adversary      proceeding by placing accurate copies in a sealed envelope in the
  United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:




  3.      Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

         Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
  and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
  transmission, by overnight delivery and/or electronic mail as follows:




          I declare under penalty of perjury under the laws of the United States of America that the statements made
          in this proof of service are true and correct.



          Executed on     10/23/2018                           M. Douglas Flahaut; /s/ M. Douglas Flahaut
                          (Date)                               (Typed Name and Signature)

                                                               555 Fifth Street
                                                               (Address)

                                                               Los Angeles, CA 90013-1065
                                                               (City, State, ZIP Code)




CSD 3010
